                      Case 4:09-cr-00090-SWW                     Document 60           Filed 05/05/10           Page 1 of 6
A0245B        (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1
                                                                                                                       FILED
                                                                                                                     u.s. DISTRICT ~~
                                                                                                                etS I LiZI4 DiS i RiC I S A S

                                         UNITED STATES DISTRICT COURT                                                 MAY -5 2010
                                                           Eastern District of Arkansas
                                                                                                          JAM
                                                                          )                  BY:--I.l~~~~-L...!?::d-.::-:-b=
             UNITED STATES OF AMERICA                                     )
                                                                                 JUDGMENT IN A CRIMINAL CASE DEP C
                                  v.                                      )
                                                                          )
                    TIFFANY PEARL CAIN                                            Case Number:            4:09CR00090-003 SWW
                                                                          )
                                                                          )       USMNumber:              25476-009
                                                                          )
                                                                          )       James H. Phillips (appointed)
                                                                                  Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        1 of the indictment
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended               Count
18 U.S.c. § 371                  Conspiracy to commit access device fraud,                                   07/16/2008                   1
                                 a Class D Felony




       The defendant is sentenced as provided in pages 2 through           _-----'6'------_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
X Count(s)      5
               -------------
                                                          X is     D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economIC circumstances.

                                                                          April 30, 2010
                                                                          Date ofImposition of Judgment



                                                                           (\/1 c4.
                                                                          ~~
                                                                                            }1  r/k~
                                                                                                   );Ir4d--::~--

                                                                          U. S. District Judge Susan Webber Wright
                                                                          Name and Title of Judge


                                                                                     5-5-":;010
                                                                          Date
                      Case 4:09-cr-00090-SWW                  Document 60       Filed 05/05/10        Page 2 of 6
AD 245B     (Rev. 09/08) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                 Judgment -   Page    2   of   6
DEFENDANT:                     TIFFANY PEARL CAIN
CASE NUMBER:                   4:09CR00090-003 SWW


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


TIME SERVED.



    D The court makes the following recommendations to the Bureau of Prisons:




    D The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
          D at      ~~~~~~~~~-
                                                     D a.m.    D p.m.     on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

 a ~~~~~~~~~~~~~~~~ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                        By ~~~~~----:c-==-c-=-~~::-:c-==---==c:-::-==--=--==-,--::------
                                                                                           DEPUTY UNITED STATES MARSHAL
                        Case 4:09-cr-00090-SWW                  Document 60            Filed 05/05/10          Page 3 of 6
AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page        3    of         6
DEFENDANT:                      TIFFANY PEARL CAIN
CASE NUMBER:                    4:09CR00090-003 SWW
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
           THREE (3) YEARS.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
 o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

x        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall comply with the reqlJirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.)
 o       as directed by the probatIon officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)     the defendant shall support his or her dependents and meet other family responsibilities;
    5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           pernnsslon of the court; and

 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or ):lersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
                   Case 4:09-cr-00090-SWW            Document 60         Filed 05/05/10       Page 4 of 6
AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 3A - Supervised Release
                                                                                           Judgment-Page _--,-4_ of       6
DEFENDANT:                TIFFANY PEARL CAIN
CASE NUMBER:              4:00CR00090-003 SWW

                                    ADDITIONAL SUPERVISED RELEASE TERMS

1. Defendant shall serve a period of FIVE (5) MONTHS in home detention with electronic monitoring under the guidance
and supervision of the U. S. Probation Office. The cost of such monitoring is to be paid by the United States Probation
Office.
2. Defendant shall participate, under the guidance and supervision of the U. S. Probation Officer, in a substance abuse
treatment program which may include testing, out-patient counseling, and/or residential treatment. Further, defendant shall
abstain from the use of alcohol throughout toe course of any treatment.
3. Defendant shall participate in mental health counseling under the guidance and supervision of the U.S. Probation Office.
The U. S. Probation Office shall monitor defendant's use of prescribed medication.
4. Defendant shall not obtain employment at an institution insured by the FDIC or at a Federal Credit Union.
5. Defendant shall disclose financial information upon request of the U.S. Probation Office, including, but not limited to,
loans, lines of credit, and tax returns. This also includes records of any business with which defendant is associated. No new
lines of credit shall be established without prior approval of the U.S. Probation Office until all criminal penalties have been
satisfied.
                     Case 4:09-cr-00090-SWW                        Document 60              Filed 05/05/10                  Page 5 of 6
AD 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                                Judgment - Page          5   of       6
DEFENDANT:                         TIFFANY PEARL CAIN
CASE NUMBER:                       4:09CR00090-003
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                                                                           Restitution
TOTALS             $ 100                                                $                                            $ 13,214.80


 D The determination of restitution is deferred until        ~~-
                                                                       . An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664V), all nonfederal victims must be paid
     before the United States is patd.

Name of Payee                                  Total Loss·                          Restitution Ordered                             Priority or Percentage
Citigroup                                                                                        $13,214.80




TOTALS                               $                                          $~~~~~-=1,,--,3,=2=-14-,-,-.8=--.:0,----


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

 X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      X    the interest requirement is waived for the            [J fine    X    restitution.

      D the interest requirement for the              D   fine     D restitution is modified as follows:


 * Findings for the total amount oflosses are required under Chapters 109A,110, 110A, and 113AofTitle 18 for offenses committed on or after
 Septemoer 13, 1994, but before April 23, 1996.
AD 245B    (Rev. 09/08)Case   4:09-cr-00090-SWW
                        Judgment in a Criminal Case              Document 60             Filed 05/05/10            Page 6 of 6
           Sheet 6 - Schedule of Payments

                                                                                                              Judgment - Page        6     of           6
DEFENDANT:                  TIFFANY PEARL CAIN
CASE NUMBER:                4:09CR00090-003 SWW

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetat)' penalties is due as follows:

A     X    Lump sum payment of $ _10-'--0-'----­          _    due immediately, balance due

           D     not later than                                     , or
           X     in accordance          D C,       [J D,       D      E, or    X F below; or
B     D Payment to begin immediately (may be combined with                    DC,        D D, or       D F below); or
C     D Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     X    Special instructions regarding the payment of criminal monetary penalties:
           The restitution imposed is payable during supervised release. Beginning the first month of supervised release, payments will be
           10% per month of defendant's monthly gross income.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made througli the Federal Bureau of Pnsons' Inmate Financia1
 Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 X    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
      Restitution shall be joint and several with any other person who has been or will beconvicted on an offense for which restitution to the
      same victim on the same loss is ordered.                                            '



 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Pa~ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
